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                      UNITED STATES DISTRICT COURT
             FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                                 Eastern Division

Maurice Franklin
                                Plaintiff,
v.                                                   Case No.: 1:21−cv−04367
                                                     Honorable Steven C. Seeger
Maximus, Inc., et al.
                                Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, December 22, 2022:


         MINUTE entry before the Honorable Jeffrey T. Gilbert: Defendants' Motion for an
Order Designating Sequence of Discovery pursuant to FPCP 26(d) [85] is granted. In the
Court's discretion in managing discovery and under the circumstances of this case, the
Court agrees with Defendants that Plaintiff's deposition should be taken before any other
depositions are taken in this case. Among other considerations, Plaintiff's Second
Amended Complaint [63] is 63 pages long and it contains 311 separate paragraphs.
Plaintiff has been slow to respond to Defendants' written discovery, and the Court already
has granted a motion to compel Plaintiff to fully respond to Defendants' discovery finding
that at least the information sought by the interrogatories and requests for production at
issue in the Motion to Compel [77] was relevant and proportional to the needs of this case.
See Order [86]. Plaintiff was ordered to supplement his discovery responses by 12/15/22
[86]. Defendants should have Plaintiff's complete responses to their interrogatories and
requests for production, which were served in July 2022 (Motion to Compel, [77], at 2),
before Plaintiff sits for his deposition given the breadth of the allegations in Plaintiff's
operative Complaint [63] and the time period that is relevant for purposes of discovery. In
the Court's view, this is the most efficient way to proceed in this case. This Order
constitutes the Court's determination under Federal Rule of Civil Procedure 26(d)(3) that
sequencing deposition discovery in this way is necessary to ensure the just, speedy, and
inexpensive determination of this action within the meaning of FRCP 1. The Court
previously ordered the parties to file a joint status report by 1/12/23 that includes the
status of written discovery as of that time, identifies fact witnesses that either side then
intends to depose before the close of fact discovery, and contains proposed or confirmed
deposition dates through 2/28/23 [86]. The Court looks forward to receiving that status
report. A telephone status hearing is set for 1/18/23 at 10:00 a.m. to discuss the status
report. If the Court believes that hearing is unnecessary after reading the parties' status
report, it will strike it. The call−in number for the telephonic status hearing is
877−336−1829, access code 1022195, press #. Persons granted remote access to
proceedings are reminded of the general prohibition against photographing, recording, and
rebroadcasting of court proceedings. Violation of these prohibitions may result in
sanctions. Mailed notice(ber, )
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